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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



IN RE NATIONAL PRESCRIPTION OPIATE            MDL No. 2804
LITIGATION
                                              Case No. 17-md-2804
This document relates to:
                                              Hon. Dan Aaron Polster
The Blackfeet Tribe of the Blackfeet Indian
Reservation v. AmerisourceBergen Drug
Corp., et al.
Case No. 18-op-45749




   MEMORANDUM OF LAW IN SUPPORT OF GENERIC MANUFACTURERS’
     MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
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I.       INTRODUCTION1

         Plaintiff The Blackfeet Tribe Of The Blackfeet Indian Reservation (“Plaintiff”), just like

the Muscogee (Creek) Nation and other MDL plaintiffs, seeks to blame the opioid-abuse crisis on

both generic and brand manufacturers (collectively, the “Manufacturers”) of opioid medications

approved by the federal Food and Drug Administration (“FDA”).                 As explained in the

Manufacturer Defendants’ Joint Motion to Dismiss The Tribes’ First Amended Complaints (“Joint

MTD”), the claims against all Manufacturers are flawed as a matter of law.2 But Plaintiff also

ignores that generic and brand manufacturers are different. Generic drug companies are subject to

different preemptive federal laws and regulations than brand manufacturers, and they utilize a

different business model (which does not involve the marketing of their generic medicines). As a

result, the claims against them are particularly flawed, and generic manufacturers are not

appropriate defendants in this case or any others that seek to impose liability on them for the opioid

crisis, regardless of what state or federal law is being asserted. For the reasons expressed more

fully in the Muscogee MTD, all claims against the Generic Manufacturers should be dismissed

with prejudice under controlling Supreme Court and Sixth Circuit law.



1
        Pursuant to ¶ 2(g) in CMO 1 (ECF No. 232), Watson Laboratories, Inc. (“Watson”),
Actavis Pharma, Inc. (“Actavis Pharma”), Actavis LLC (“Actavis LLC”), Par Pharmaceutical,
Inc., and Par Pharmaceutical Companies, Inc. (collectively, the “Generic Manufacturers”) raise
only certain key common issues that warrant dismissal of the claims against them, in addition to
those arguments raised in the Joint MTD. Generic Manufacturers do not raise defendant-specific
challenges and defenses, but expressly reserve their right to raise those at a later time consistent
with CMO 1. (ECF No. 232, at ¶ 2(j).) For purposes of this memorandum, emphasis in
quotations is added, and internal citations, quotation marks, and alterations are omitted.
Mallinckrodt LLC, SpecGx LLC, and Teva Pharmaceuticals USA, Inc. (“Teva USA”) also join
this motion to the extent Plaintiff’s claims rest on allegations regarding their generic products.
See e.g., FAC ¶¶ 47-49, 76-78.
2
        The Generic Manufacturers adopt and incorporate herein the arguments made in the Joint
MTD. Likewise, they adopt and incorporate herein the arguments made in the Motion to
Dismiss, and accompanying Memorandum of Law, filed by the generic manufacturers in the
Muscogee action (“Muscogee MTD”).


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        First, Plaintiff primarily asserts a false marketing theory against the Manufacturers, but,

despite more than 300 pages and 1000 Paragraphs, the Corrected First Amended Complaint

(“FAC”) does not contain a single particularized allegation of any marketing conduct or promotion

by any of the Generic Manufacturers with respect to their generic products. The FAC certainly

does not plead any of the necessary details to support their fraud claims, such as what false or

misleading statements were said, to whom, where, and how they supposedly caused any medically

inappropriate prescription for one of Plaintiff’s citizens or that otherwise harmed Plaintiff. The

failure to plead these fundamental details is not surprising, given the well-recognized principle that

Generic Manufacturers “compete on price and avoid marketing to physicians because the costs of

such marketing severely impact their ability to offer the significantly lower prices upon which they

compete.” New York v. Actavis, PLC, No. 14-cv-7473, 2014 WL 7015198, at *27 (S.D.N.Y. Dec.

11, 2014), affd sub nom. New York ex rel. Schneiderman v. Actavis PLC, 787 F.3d 638 (2d Cir.

2015). Because there is no marketing of generic medicines, there is no false marketing to plead.

All marketing-related claims against the Generic Manufacturers for the sale of generic medicines

fail as a matter of law.

        To conceal this fundamental problem, the FAC engages in rampant group pleading,

lumping the Generic Manufacturers together with other independent companies under incorrect

fictitious names (such as “Actavis”), and then grouping these fictional entities together with

numerous other manufacturers and fourteen distributors and pharmacies. When the improper

group allegations are properly stripped away, there is not a single factual allegation pleaded against

any of the Generic Manufacturers with respect to the sale or marketing of generic opioids—much

less any facts showing that any fraudulent marketing of generic opioids by these entities caused

Plaintiff to incur some expense. Thus, all marketing claims against the Generic Manufacturers




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should be dismissed for failure to plead the essential elements of those claims.

        Second, for the reasons expressed in the Muscogee MTD, the state law claims against the

Generic Manufacturers are preempted under federal law. Under PLIVA, Inc. v. Mensing, 564 U.S.

604 (2011), Mutual Pharmaceutical Co., v. Bartlett, 570 U.S. 472 (2013), and controlling Sixth

Circuit law,3 state law claims that would require generic manufacturers to provide warnings

beyond those provided in their generic labels are preempted because they violate the “sameness”

requirement of the Food Drug & Cosmetic Act (“FDCA”): that design and warnings of a generic

drug must at all times be identical—indeed, the same—to those of its branded equivalent medicine.

21 U.S.C. § 355(j)(2)(A). Such broad preemption principles preclude state law claims that seek to

force generic manufacturers to communicate information unilaterally beyond the content of the

labels of their generic medicines because, in doing so, those communications would imply a

difference between branded and generic medicines and would violate the “sameness” requirement

imposed by federal law. Mensing, 564 U.S. at 617; In re Darvocet, 756 F.3d at 932-33; Muscogee

MTD 12-22.

        Here, because there are no specific allegations that the Generic Manufacturers promoted

generic medicines (and, indeed, they did not), Plaintiff’s claims against the Generic Manufacturers

are necessarily predicated upon a failure to warn theory—that is, the Generic Manufacturers did

not sufficiently disclose the risks of their generic opioid medicines, even though the labels of those

FDA-approved medicines corresponded to their branded counterparts. Because these claims seek

to force the Generic Manufacturers to provide warnings and communications beyond the labels of

their generic medicines, they are preempted under controlling law.



3
       See, e.g., McDaniel v. Upshur-Smith Laboratories, Inc., 893 F.3d 941 (6th Cir. 2018); In
re Darvocet, Darvon, and Propoxyphene Prods. Liability Litig., 756 F.3d 917 (6th Cir. 2014);
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        Lastly, as in Muscogee, given Plaintiff’s inability to plead false marketing claims against

the Generic Manufacturers, Plaintiff resorts to allegations that the Generic Manufacturers did not

report or halt suspicious orders and otherwise prevent diversion in violation of the federal

Controlled Substances Act (“CSA”) and Montana law. (E.g., FAC ¶¶ 485-97, 1007, 1009, 1021.)

Those claims fail, too, for the reasons discussed in the Joint MTD and the Muscogee MTD,

including that there is no private cause of action to enforce these laws and the claims are preempted

as a matter of law. (Joint MTD Part I-III, V; Muscogee MTD at 22-23.) Moreover, as in Muscogee,

Plaintiff does not plead any facts demonstrating that any Generic Manufacturer failed to report a

suspicious order to the Drug Enforcement Agency (“DEA”) (or any other agency), much less that

any such order caused the Plaintiff any harm. Indeed, there is not a single fact to show any Generic

Manufacturer failed to comply with any statutory or regulatory anti-diversion obligations. These

claims should be dismissed, too.

II.     BACKGROUND

        Plaintiff alleges Watson, Actavis Pharma, Actavis LLC, Teva USA, SpecGx LLC,

Mallinckrodt LLC, Par Pharmaceutical, Inc., and Par Pharmaceutical Companies, Inc. all sold

generic medicines. (FAC ¶¶ 45-46 (alleging that Watson, Actavis Pharma, and Actavis LLC

manufacturer and sell “generic versions” of opioid medicines), ¶¶ 47-49 (alleging that Teva USA

is “in the business of selling generic” medicines and does so now), ¶¶ 64-65 (alleging that Par

Pharmaceutical, Inc. and Par Pharmaceutical Companies, Inc. manufacture and sell generic opioid

medicines); ¶¶ 74, 77 (alleging that SpecGx LLC and Mallinckrodt LLC manufacture and sells

“generic opioid product”).)4 Notwithstanding that Generic Manufacturers do not market and


4
       For some Generic Manufacturers, the FAC improperly lumps them with various families
of branded manufacturers. For instance, Plaintiff incorrectly groups Watson, Actavis Pharma,
and Actavis LLC (“Actavis Generic Entities”) as part of what the FAC collectively (and
inaccurately) refers to as “Actavis.” (FAC ¶ 45.) Other than identifying the state of


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promote generic medicines, the FAC alleges that all of the Manufacturers, including the Generic

Manufacturers, engaged in a “massive marketing campaign premised on false and incomplete

information” about opioids to influence “how and when opioids are prescribed by the medical

community and used by patients.” (Id. ¶ 10; see also id. ¶¶ 12-13.) The FAC also alleges that the

Manufacturers, along with distributors and pharmacies, failed “to monitor report, and take steps to

halt suspicious orders [of opioids] when they were identified, thereby perpetuating the oversupply

of such drugs.” (Id. ¶ 15.) Based upon these two legal theories (the same legal theories at issue

in Muscogee), Plaintiff asserts an array of state and federal claims (Counts I-X), seeking to recover

the downstream public costs it has expended in addressing the opioid epidemic. (FAC ¶¶ 852,

883.)

II.     LEGAL ARGUMENT

        To survive a motion to dismiss under Rule 12(b)(6), Plaintiff must provide “more than

labels and conclusions . . . .” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Instead, the

factual allegations must transcend the “speculative,” “conceivable,” and “possible,” and must

“state a claim to relief that is plausible on its face.” Id. at 555–57, 566–67, 570. In making that

determination, the Court must disregard “legal conclusions” and “conclusory statements,” and

must scrutinize the well-pleaded factual allegations to ensure that they are more than “‘merely

consistent with’ a defendant’s liability.” Ashcroft v. Iqbal, 556 U.S. 662, 677–79 (2009). It is

settled that “[t]hreadbare recitals of the elements of a cause of action, supported by mere

conclusory statements,” are insufficient. Id. at 678.




incorporation and principal place of business for Watson, Actavis Pharma, and Actavis LLC and
incorrectly asserting that each “is owned by Allergan plc,” Plaintiff asserts no individual
allegations against any of the Actavis Generic Entities. (Id.)


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         Moreover, because Plaintiff’s claims rest on an alleged fraudulent campaign to market

opioid medicines and a failure to report suspicious orders (E.g., FAC ¶¶ 4, 14, 326, 401),

Plaintiff must satisfy Rule 9(b)’s particularity standard. See Frank v. Dana, 547 F.3d 564, 570

(6th Cir. 2008). To do so, Plaintiff must plead the “who, what, when, where, and how” of any

alleged fraud, Republic Bank & Tr. Co. v. Bear Stearns & Co., 683 F.3d 239, 256 (6th Cir.

2012), including “the time, place, and content of the alleged misrepresentations,” the “fraudulent

scheme,” “fraudulent intent,” and “injury resulting from the fraud.” Sanderson v. HCA-The

Healthcare Co., 447 F.3d 873, 877 (6th Cir. 2006).

         Here, Plaintiff has asserted claims against the Manufacturers based upon two legal

theories: (1) false marketing; and (2) failure to monitor and report diversion. (FAC ¶ 9.) Each

of these legal theories fails as a matter of law for the reasons expressed in the Joint MTD. (Joint

MTD Part I-V.) In addition, for the reasons explained in the Muscogee MTD, they are

particularly flawed against the Generic Manufacturers given their unique business model and

the federal laws and regulations that govern their conduct. (Muscogee MTD at 4-23.)

         A.     All Marketing Claims (Counts I And III-X) Fail As To Generic
                Manufacturers Because Plaintiff Does Not And Cannot Allege Any False
                Marketing Of Generic Medicines, Much Less Satisfy Rule 9(b).

         Counts I and III-X are all based, in part, upon the allegedly false marketing of opioids.5

As a result, each claim requires Plaintiff to plead facts that, at a minimum, satisfy several core

requirements, including an actionable misrepresentation or other fraudulent conduct by each

Defendant; a sufficient causal nexus between that supposed fraud or conduct and Plaintiff’s alleged


5
         FAC ¶ 829 (RICO—Count I), ¶ 890 (federal common law public nuisance claim—Count
III); ¶¶ 924, 929, 935, 940, 942 (state common-law public nuisance—Count IV), ¶¶ 964-65
(statutory public nuisance—Count V), ¶¶ 1052-54 (fraud claim—Count VII), ¶¶ 1071, 1081
(unjust enrichment—Count VIII), ¶¶ 1089-90, 1092 (civil conspiracy—Count IX), ¶¶ 111-12
(statutory consumer protection claim—Count X).)


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harm; and a cognizable legal injury. Joint MTD Part I-III, V.A. The Joint MTD explains how

Plaintiff does not and cannot satisfy these basic elements of its claims against any Manufacturer.

Id.

        But the false marketing claims in the FAC are also uniquely flawed as to Generic

Manufacturers for another more fundamental reason: The FAC does not and cannot make a single

particularized allegation of any marketing of generic opioids. Here, the FAC fails to allege a single

statement attributable to any Generic Manufacturer about opioids—much less one that reached a

Montana prescriber, one of Plaintiff’s citizens, or the Plaintiff itself. Because of this failure, the

FAC does not and is unable to plead the specific details of any such representation, such as who

made it, when, to whom, and why it is purportedly false. Instead, Plaintiff’s specific allegations

about the individual Generic Manufacturers are confined to a few conclusory background

paragraphs in the “Defendants” section of the FAC. (E.g., FAC ¶¶ 45-46 (“Actavis Generic

Entities”); ¶¶ 64-66 (Par Pharmaceutical, Inc. and Par Pharmaceutical Companies, Inc.).) Other

than these few paragraphs, the FAC does not mention any of the Generic Manufacturers by name.

This fails to satisfy basic pleading requirements under Iqbal, much less Rule 9(b). See Iqbal, 556

U.S. at 678 (requiring facts to show that each defendant “has acted unlawfully.”); United States ex

rel. SNAPP, Inc. v. Ford Motor Co., 532 F.3d 496, 505-06 (6th Cir. 2008) (dismissing claims for

failure to satisfy Rule 9(b)).

        The reason why these fundamental facts are missing is clear: There are no such facts to

plead because the Generic Manufacturers sold only generic products and did not promote them.

Actavis, PLC, 2014 WL 7015198, at *27. As explained in the Muscogee MTD, states encourage

pharmacists to dispense generic drugs through drug substitution laws. Muscogee MTD at 4-6; see

also Mont. Code Ann. § 37-7-505 (absent instructions from physician to contrary, pharmacist who




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receives a brand prescription “may select a less expensive drug product with the same generic

name, strength, quantity, dose, and dosage form as the prescribed drug”). Those laws now exist

in all 50 states. See New York ex rel. Schneiderman v. Actavis PLC, 787 F.3d 638, 644 (2d Cir.

2015). They “either permit or require pharmacists to dispense a therapeutically equivalent, lower-

cost generic drug in place of a brand drug absent express direction from the prescribing physician.”

Id. at 645. The substitution laws discourage generic manufacturers from promoting their particular

generic products, since “expenditures by generics on marketing would be impractical and

ineffective because a generic manufacturer promoting a product would have no way to ensure that

a pharmacist would substitute its product, rather than one made by one of its generic competitors.”

Id. at 656. As such, because the Generic Manufactures did not promote their generic medicines,

there is no false marketing to allege.

       As in Muscogee, the FAC attempts to mask this deficiency by engaging in improper group

pleading. For example, it inaccurately lumps together the three Actavis Generic Entities together

with five other corporate entities (owned by a different company) under the fictitious “Actavis”

name (FAC ¶ 46); the FAC then makes allegations against these fictitious entities. (FAC ¶¶ 193-

196, 276, 313, 520-21, 554, 557.)        Worse yet, the FAC lumps together all the Generic

Manufacturers with other unrelated manufacturers of opioids as “Marketing Defendants,” making

hundreds of allegations using the name of this undifferentiated entity. (E.g. FAC ¶¶ 15-23, 110,

111, 115, 120, 133, 144-151, 201-202, 209-211, 221, 224-25, 226, 236, 237, 254-55, 263, 276,

316, 319-324, 332, 342, 344, 350.) And as a third layer of improper group pleading, the FAC

lumps the Generic Manufacturers in with more than twelve separate distributors and pharmacies,

asserting conclusory allegations against all “Defendants” collectively. (E.g. FAC ¶¶ 15-23.) As

a matter of Sixth Circuit law, this is improper. See, e.g., Hoover v. Langston Equip. Assocs., Inc.,




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958 F.2d 742, 745 (6th Cir. 1992); Muscogee MTD at 11-12; Joint MTD Part V.A.1.

         Put simply, because Plaintiff does not and cannot make any allegations of marketing (much

less false or misleading marketing) of generic opioid medicines, Plaintiff has failed to and cannot

allege any of the essential elements of its false marketing claims, including a false or misleading

statement, causation, or a cognizable injury. Because these defects cannot be cured, all such claims

against the Generic Manufacturers should be dismissed with prejudice.

         B.     The State Law False Marketing Claims (Counts IV-X) Against The Generic
                Manufacturers Are Preempted.

         Claims against Generic Manufacturers based upon the labeling of their generic medicines

are subject to unique federal statutes and requirements that carry preemptive effect over state law

claims. (Muscogee MTD at 12-22.) As the Supreme Court made clear in Mensing and Bartlett,

the FDCA and its implementing regulations impose a “duty of sameness” on generic manufacturers

that prohibit generic manufacturers from providing additional or different warnings for their

generic medicines beyond the confines of the labeling for their branded counterparts. Id.; Mensing,

564 U.S. at 612-13, 618.6

         The Supreme Court first held in Mensing that state-law claims seeking to require generic

drug manufacturers to change FDA-approved labeling are preempted because it is impossible for

generic drug manufacturers to simultaneously comply with state-law requirements and the federal

law requirement of sameness. 564 U.S. at 617. There, the plaintiffs alleged state law failure-to-



6
        The “sameness” requirement goes further than just the physical label on the generic drug.
This is because FDA defines “labeling” to include “[b]rochures, booklets, mailing pieces,
detailing pieces, file cards, bulletins, calendars, price lists, catalogs, house organs, letters, motion
picture films, film strips, lantern slides, sound recordings, exhibits, literature, and reprints” and
“similar pieces of printed, audio, or visual matter descriptive of a drug . . . for use by medical
practitioners, pharmacists, or nurses, containing drug information supplied by the manufacturer.”
21 C.F.R. § 202.1(l)(2).



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warn, fraud, and negligent misrepresentation claims against generic drug manufacturers of

metoclopramide based on the manufacturers’ alleged failure to provide adequate warning labels.

Id. at 608–609. The Supreme Court recognized that if plaintiffs’ allegations were true, then the

manufacturers were required by state law to use different labeling. Id. at 612. Conversely though,

the Supreme Court noted that under the FDCA, a generic manufacturer was “responsible for

ensuring that its warning label is the same as the brand name’s,” and that this duty of “sameness”

was “ongoing.” Id. at 613. Because these conflicting duties rendered it impossible to comply with

both state and federal law under plaintiffs’ theory of the case, the Supreme Court concluded that

the plaintiffs’ state law claims were preempted. Id. at 618.

         Notably, the Mensing Court expressly rejected the notion that manufacturers could provide

additional warnings through “Dear Doctor” letters to physicians,7 holding that those letters are

subject to the sameness requirement and cannot include updated or even additional warnings that

stray from an approved label. Id. at 615. Doing so violates the “duty of sameness” because “if

generic manufacturers, but not the brand-name manufacturers, sent such letters, that would

inaccurately imply a therapeutic difference between the brand and generic drugs and thus could be

impermissibly ‘misleading.’” Id.

         The Supreme Court subsequently reinforced Mensing in Mutual Pharmaceutical Co., v.

Bartlett, 570 U.S. 472 (2013), where it held that any state law claim that brings into question the

adequacy of, or would otherwise effect a change in, a generic drug manufacturer’s labeling is

preempted under Mensing. Id. at 486-87, 490. In Bartlett, the plaintiff asserted a design defect




7
        “Dear Doctor” letters are communications used by manufacturers to notify health care
providers about new or updated warnings regarding a drug. See 21 C.F.R. § 200.5 (“Manufacturers
and distributors of drugs and the Food and Drug Administration occasionally are required to mail
important information about drugs to physicians and others responsible for patient care.”).


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claim under New Hampshire state law against a generic drug manufacturer based on severe side

effects the plaintiff had allegedly suffered as a result of taking the generic form of the drug at issue.

Id. at 478. As it did in Mensing, the Supreme Court analyzed whether the state law claim created

a duty and found that, under New Hampshire law, design defect claims imposed a duty that could

“be satisfied either by changing a drug’s design or by changing its labeling.” Id. at 482. The

Supreme Court thus concluded that this claim was preempted because “state-law design-defect

claims like New Hampshire’s that place a duty on manufacturers to render a drug safer by either

altering its composition or altering its labeling are in conflict with federal laws that prohibit

manufacturers from unilaterally altering drug composition or labeling.” Id. at 490.

        Mensing and Bartlett squarely apply here and bar all of the Plaintiff’s state law claims

based upon the false marketing of generic medicines. Because the FAC fails to allege any specific

affirmative marketing conduct with respect to generic medicines, Plaintiff’s state law claims

necessarily must be based upon a duty to warn incompatible with federal law—that is, to require

the Generic Manufacturers to disclose something more than their FDA-approved warning labels

with respect to generic opioids.        (E.g. FAC ¶¶ 221, 255, 1055-56, 1112.) (alleging that

“Defendants” failed to disclose various risks of opioids).) While Plaintiff’s claims are not

explicitly framed as failure-to-warn claims, this is of no consequence. The Montana public

nuisance, negligence, negligent misrepresentation, fraud, unjust enrichment, civil conspiracy, and

consumer protection claim against the Generic Manufacturers are at bottom failure-to-warn claims

because they would require the Generic Manufacturers to alter their labels or make additional

disclosures to avoid liability—something they cannot do given the “sameness” requirement of the

FDCA and its accompanying regulations. See, e.g., Strayhorn v. Wyeth Pharms., Inc., 737 F.3d

378, 391 (6th Cir. 2014) (explaining courts “have interpreted Mensing to broadly preempt claims




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that are, at their core, claims that the generic manufacturer failed to provide additional warnings

beyond that which was required by federal law of the brand-name manufacturers.”) (collecting

cases).

          Nor can Plaintiff try to avoid preemption by arguing that its state law claims are based upon

the theory that Generic Manufacturers should have sent letters to physicians that further

communicated risk information about opioids. The Sixth Circuit and other courts have made clear

that generic manufacturers are not permitted to communicate any warnings beyond a generic label

if brand-name manufacturers have not already sent such a communication, because doing so

“would inaccurately imply a therapeutic difference between the brand and generic drugs and thus

could be impermissibly ‘misleading.’” In re Darvocet, 756 F.3d at 932-33 (claims that generic

drug manufacturers failed to send “Dear Doctor” Letters to healthcare professionals regarding

generic medicine’s risks were preempted because they would “violate the duty of sameness”); see

also McDaniel, 893 F.3d at 944-948 (failure to warn claims based upon alleged failure to provide

Medication Guide are impliedly preempted); Morris v. PLIVA, Inc., 713 F.3d 774, 777 (5th Cir.

2013) (per curiam) (“Under federal law, the inquiry is whether the brand-name manufacturers sent

out a warning, not whether the proposed warning to be disseminated contains substantially similar

information as the label. Because no brand-name manufacturer sent a warning based on the 2004

label change, the generic manufacturers were not at liberty to do so.”); Guarino v. Wyeth, LLC,

719 F.3d 1245, 1249 (11th Cir. 2013) (adopting the Fifth Circuit’s reasoning in Morris and

rejecting a “failure-to-communicate theory of liability” requiring generic manufacturers to

communicate warnings that brand manufacturers had not yet communicated).

          Put simply, regardless of how they are framed, Plaintiff’s claims necessarily seek to hold

the Generic Manufacturers responsible for failure to provide additional safety information




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regarding generic opioids beyond what is in their labels. All such claims are preempted under

established Supreme Court and Sixth Circuit law.



       C.      All Claims (Counts II-X) Based Upon Plaintiff’s Failure To Prevent
               Diversion Theory Fail, Too.

       As in Muscogee, Plaintiff also asserts RICO and state law claims against all Manufacturers,

including the Generic Manufacturers, based upon a theory that they failed to monitor, report, and

halt suspicious orders of opioid medications in violation of federal and state reporting laws. (E.g.,

FAC ¶¶ 866, 877-78, 894-95, 929, 932-34, 937, 966-67, 979, 982, 988, 1007, 1013, 1019, 1022,

1055, 1080, 1099, 1113.) These claims rest on the same flawed allegations and legal theory

asserted in Summit County and Muscogee, and, therefore, they fail as a matter of law for the reasons

expressed in the Joint MTD and the motion to dismiss briefing in Summit County. Joint MTD

Part I-II, II.C, V.A.2; Muscogee MTD at 24; Summit Manufacturer Joint Motion To Dismiss, ECF

No. 499-1, at 28-38, 40-53.

       In addition, like the claims in Muscogee, Plaintiff’s failure to prevent diversion claims fail

for another reason:     there is not a single factual allegation pleaded against any Generic

Manufacturer regarding its failure to comply with any diversion monitoring or reporting

allegations. (FAC ¶¶ 474-636). As such, the FAC fails to identify a single suspicious order that

any Generic Manufacturer failed to report; a single misleading statement or omission by any

Generic Manufacturer regarding any federal or state diversion monitoring obligation (much less

when they were made and to whom); or how any alleged failure to report by any Generic

Manufacturer caused Plaintiff to incur some harm. For this reason alone, the claims should be

dismissed.




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III.   CONCLUSION

       For the foregoing reasons and those explained in the Joint MTD and Muscogee MTD, the

Generic Manufacturers respectfully request that the Court enter an Order dismissing all claims

against them.




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Dated: August 31, 2018                    Respectfully submitted,

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                          LOCAL RULE 7.1(F) CERTIFICATION

       I certify that this case has been assigned to the “litigation track” pursuant to CMO One

and that this Memorandum adheres to the page limitations set forth in CMO One § 6(f), CMO

Four at 2-3, L.R. 7.1(f), and the Court’s July 26, 2018 Order.



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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 31, 2018, a copy of the foregoing Memorandum Of Law

Support Of Generic Manufacturers’ Motion to Dismiss Plaintiff’s First Amended

Complaint was filed electronically in MDL Master Docket No. 17-md-2804 and in No. 1:18-op-

45749-DAP. Notice of this filing was sent to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.


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